 Case 2:21-cv-04569-JAK-KS
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Case: 2:21cv4569   Doc: 60




Melvin Huges Louis
1014 South Westlake Boulevard,   Suite 19-318
Westlake Village, CA 91361
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 States of America v. Real Property Located in Malibu, California Order on Motion to Stay Case
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  Document Number:        60


 Docket Text:
 MINUTES(IN CHAMBERS)ORDER RE MOTION TO STAY [48] by Judge John A.
 Kronstadt. The Motion is DENIED.Because the present action is closed, no further filings will
 be accepted by Huges.(iv)

 2:21-cv-04569-JAK-KS Notice has been electronically mailed to:
 Daniel G. Boyle caseview.ecf@usdoj.gov, usacac.criminal@usdoj.gov,
 gabriela.azciniega@usdoj.gov, tarleen.khauv@usdoj.gov,jonathan.wettstein@usdoj.gov,
 daniel.boyle2@usdoj.gov
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 Westlake CA 91361
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